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United STATES DISTRICT COURT s ___

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IN THE WESTERN DISTRICT OF MICHIGAN

James Offringa,

Pro Se

Plaintiff. 1 :1 2-cv-1321

v. S. case No= Robert Holmes Bell

' - U.S. District Judge
Grand Rapids Griffins,

Defendant,

COMPLIANT AND NON-JURY DEMAND

NOW COMES plaintiff James Offringa, Pro Se and for his
Complaint against Grand Rapids Griffins hereby states as

follows:
JURISDICTION AND VENUE

1. Plaintiff brings this action under the Americans with
Disabilities Act 42 U.S.C § 12101, et seq. (“ADA”), SeCtion
504 of the Rehabilitation Act of 1973, as amended, at 29 U.S.C
§794 (the “Rehabilitation Act”), and the Person With n
Disabilities Civil Rights Acts, M.C.L. § 37.10101, et seq.

( “PDCRA” )
2. This Court has jurisdiction pursuant to the

following statutes:

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a. 28 U.S.C. §1331, which gives district courts
original jurisdiction over civil actions under the
Constitution, laws or treaties of the United States;

b. 28 U.S.C. §1343,(3) AND (4) which give district
courts jurisdiction over actions to secure civil rights
extended by the United State Government;

c. 28 U.S.C §1367, which gives the district court
supplemental jurisdiction over state law claims.

3. Venue is appropriate in this judicial district under
28 U.S.C §139l(b) because the events gave rise to this
Complaint occurred in this district.

PARITES

4. Plaintiff is a citizen of the United States and
resides in the County of Kent, State of Michigan, which is in
this judicial district.

5. Defendant Grand Rapids Griffins is a local
entertainment business who has two co~owners: Dan DeVos and
David Van Andel both are citizen of the United States and
resides in the County of Kent, State of Michigan, which is in
this judicial district.

6. Defendant Grand Rapids Griffins uses a sports arena at
Van Andel Arena. Van Andel Arena is a venue for
entertainment, sport team, and more for the community. Such

venue can be private or public uses and subject to follow all

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ADA laws for accommodations to insure any activities can be
equally enjoyed to anyone one to either disabled or non-

disabled.

BACKGROUND

7. The plaintiff James Offringa has a severe hearing
loss and the cause of his hearing loss is from rubella or
German measles. He wears hearing aids and it does the job
well. Far as communication goes he speaks very well in
certain environments and also fluent in American Sign
Language or ASL. As of December of 2011 he has graduated
from Davenport University with a double major in Computer
Networking and Network Security. He began searching for a
job since December 2011 with high unemployment and
competitive job market it is very tough. However it is much
tougher for a person who has a hearing loss or disabled
person with a lifetime disability to get a job (Keep this in
mind do not count any disabled veterans. Many of us cannot
join or serve our country due to our disability). There are
no real stats for the unemployment rate for those who are
disabled but I am guessing it can be anywhere from 20% to
40%.

8. On November l 2012 Brenda Jones (James Offringa career

advisor from Michigan Vocational Rehab. advisor) has

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informed the plaintiff; James Offringa that there was an
upcoming career fair held at Van Andel Arena banquet room.
According to the flyer attached; the main headline says
“Grand Rapids Griffins Career Fair” and the date was
November 7, 2012. It also has a few major highlights on the
flyer. It says “Wednesday November 7UH 2012 from 9 am to 1
pm”, “Located at the Van Andel Arena in the Banquet Rooms”,
“130 W Fultorl, Grand Rapids MI 49503" and “Enjoy a
complimentary ticket to the Griffins game at 11 am”. On the
bottom of the flyer it has a contact person if you have any
questions or pre-registration. That contact person is Zack
Krywyj - Griffins Group Executive along with his phone
number and email for contacts proposes.

9. A number of emails were sent out for request for an
interpreter for the plaintiff James Offringa. It is always
the plaintiff responsibility to ask for accommodations for
the event at the career fair that is hosted by the Grand
Rapids Griffins. James has sent an email to Zack Krywyj on
November 2, 2012 and got no reply at all. Brenda Jones has
sent me an email that she has personally contacted with
Michigan Works and they have confirmed her that Grand Rapids
Griffins is hosting the event. She also has advised me to
work with Deaf and Hard of Hearing Services (DHHS), Nan

Soper who is an interpreter specialist. James has sent an

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email to Nan Soper and asking for assistance on getting an
interpreter for the event. Nan has sent out the request as
well. A reply was shared with James Offringa from Nan Soper
and learned from Zack Krywyj's email stated that he has
spoken with his manager. His boss has said they are not
willing to pay for it at their career fair. However they
have suggested that Michigan Works is to foot the bill for
the services. There was not enough time to argue or reason
who is willing to foot the bill according to law for
accommodations for the deaf at the career fair. James
Offringa has attended at the career fair without one. His
options were limited.

GENERAL ALLEGATIONS

10. James Offringa was discriminated based upon his
disability in place of public accommodations. This federal
mandate is found in Title III of the Americans with
Disabilities Acts, 42 U.S.C §12181 et seq.

11. Also the U.S. Department of Justice has issued
regulation explaining the requirements of the ADA 28 C.F.R
Part 36, and written an Analysis, 56 Fed. Reg. 355449 July
2 6 , l 9 9 l) :

No individual shall be discriminated against on the basis of
disability in the full and equal enjoyment of the goods,

services, facilities, privileges, advantages, or

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accommodation of any place of public accommodation by any
private entity who owns, lessees (or leases to), or
operates a place of public accommodation.

28 C.F.R § 36.201(a) (emphasis added).

12. Van Andel Arena is a place for public gathering and
Grand Rapids Griffins an private organization or company
that held an event or show and it incurs obligation under
the ADA:

Public accommodation means a private entity that owns,
leases [or leases to], or operate a place of pubic
accommodation.

28 C.F.R § 36.104.

13. The regulation states that a public accommodation
“shall furnish appropriate auxiliary aid and services
where necessary to insure effective communication” with
individuals with disabilities. 28 C.F.R § 36.303(€).
Furthermore a public accommodation:

shall take those steps that may be necessary to
ensure that no individual with a disability is
excluded, denied services, segregated or otherwise
treated differently than other individual because the
absence of auxiliary aids and services, unless the
public accommodation can demonstrate that taking those

steps would fundamentally the nature of the good,

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services, facilities, privileges, advantages, or
accommodations being offered or would result in an
undue burden, i.e., significant difficulty or expense.

28 C.F.R § 36.303(a)

The plaintiff, James Offringa was clearly denied reasonable
accommodation. James Offringa has sent an email to Zack
Krywyj on November 2, 2012. He got no answer from Zack and
he has contacted DHHS for their assistant to secure an
interpreter for the event. Their final answer was no
(Grand Rapids Griffins has stated in their answer on an
email dated November 5,2012.) and the plaintiff has
believed that Grand Rapids Griffins has shown that they are
not willing to pay for the cost after seeing the price list
of obtaining an interpreter based upon DHHS services,

Grand Rapids Griffins do not have no reason to show any
cause of undue burden because they are a very well

established entertainment venue.

14. Persons with Disabilities Civil Rights Acts (PWDCRA) -
PA 220 Of 1976, MCL 37.1101
Protects person with disabilities against discriminatin in
employment, housing, education, and places of public
accommodation.

15. Deaf Person’s Interpreter Act - Act 204 of 1982

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Provide for and regulates the use of interpreters in
administrative and judicial proceedings. Establishes

standards and compensation for interpreters.
Demands

16. The plaintiff has requested ten million dollars in
putative damages due to discrimination. I have heard
about it too many times among my deaf cultural peers.
Very few have stood up for their rights and still get
trampled upon.

17. All of Grand Rapids Griffins upper level management
must volunteer 50 hours of their time with the deaf
culture. It can be at any deaf school, Deaf and Hard of
Hearing Services office, Paws With a Cause working with
hearing dogs, attend a deaf social event and any other
activities must be approved by the court.

18. Grand Rapids Griffins must host a seminar for business
(at least 25 or more) human resource department or upper
level management to learn about myths and facts about
hiring any deaf person into the work force.

19. Grand Rapids Griffins must host a career fair for the
disabled clientele. Also must provide the necessary

interpreters for the career fair.

W/Me

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